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                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
                            )
IN RE:                      )     CASE NO. 18-62769-SMS
SEDRICK DARRYL WARD         )     CHAPTER 13
              DEBTOR        )
                            )


  NOTICE OF APPEARANCE PURSUANT TO BANKRUPTCY RULE 9010 (b) AND
    REQUEST FOR NOTICES UNDER BANKRUPTCY RULE 2002 REGARDING
  PROPERTY DESCRIBED AS 3658 SALEM HILLS COURT, LITHONIA, GA 30038
   AND THAT CERTAIN LOAN MORE SPECIFICALLY IDENTIFIED AS LOAN
                        NUMBER *******2603


       NOW COMES SunTrust Bank, by and through its attorney Brock and Scott, PLLC,

pursuant to Bankruptcy Rule 9010 and makes its appearance as a secured creditor in this cause

and, pursuant to Bankruptcy Rule 2002, requests that it be noticed on all pleadings, documents

and hearings; that it receive copies of all documents; and be added to the matrix to be served at

the addresses below:

Mallory Velten
Brock and Scott, PLLC
Attorneys at Law
4360 Chamblee Dunwoody Rd. Suite 310
Atlanta, GA 30341
gabkr@brockandscott.com

SunTrust Bank
1001 Semmes Avenue
Richmond, Virginia 23222

       Please take notice that the undersigned hereby appears as counsel for SunTrust Bank

pursuant to Bankruptcy Rule 9010(b). The undersigned’s filing of this notice is limited to the instant

case noted above and should not be construed as unlimited representation of the Creditor with

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              *CID716412*                                     *DID200399*
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respect to any and all matters, proceedings, or actions that may be taken in the instant case or any

associated case or proceeding involving the above named Creditor.


                                                       RESPECTFULLY SUBMITTED,


                                                       /s/_____________________________
                                                       Mallory Velten
                                                       Attorney at Law (726971)
                                                       Brock & Scott, PLLC
                                                       4360 Chamblee Dunwoody Rd. Suite 310
                                                       Atlanta, GA 30341
                                                       404-789-2661
                                                       404-294-0919
                                                       gabkr@brockandscott.com




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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of
Appearance has been electronically served or mailed, postage prepaid on December 6, 2018
to the following:

Sedrick Darryl Ward, Debtor
3658 Salem Hills Ct
Lithonia, GA 30038

Emily Camille Allen, Debtor's Attorney
The Semrad Law Firm
303 Perimeter Center North, #201
Atlanta, GA 30346
Willie Bruce Smith, Debtor's Attorney
303 Perimeter Center North
Suite 201
Atlanta, GA 30346
wsmith@semradlaw.com
Mary Ida Townson, Bankruptcy Trustee
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740



                                                     /s/_____________________________
                                                     Mallory Velten
                                                     Attorney at Law (726971)
                                                     Brock & Scott, PLLC
                                                     4360 Chamblee Dunwoody Rd. Suite 310
                                                     Atlanta, GA 30341
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